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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Gregory Godfrey, et al.
                                       Plaintiff,
v.                                                     Case No.: 1:18−cv−07918
                                                       Honorable Matthew F. Kennelly
Greatbanc Trust Company, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 12, 2019:


        MINUTE entry before the Honorable Matthew F. Kennelly: Status hearing and
motion hearing held on 2/12/2019. Responses to motions to dismiss to be set at a later
date. Plaintiffs may take limited discovery within 30 days as stated in open court.
Telephone status hearing set for 2/27/2019 at 8:30 a.m. Parties are to notify the Court of a
call−in number in advance. Mailed notice. (pjg, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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